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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION

ADAM KANUSZEWSKI and ASHLEY                    No. 18-cv-10472
KANUSZEWSKI as parent-guardians
and next friend to their minor children,       HON. THOMAS L.
D.W.L., R.F.K., and C.K.K.; SHANNON            LUDINGTON
LAPORTE,
as parent-guardian and next friend to          MAG. JUDGE PATRICIA T.
her minor children, M.T.L. and E.M.O.;         MORRIS
and LYNNETTE WIEGAND, as parent-
guardian and next friend to her minor          STIPULATED ORDER
children, L.R.W., C.J.W., H.J.W., and          FOR EXTENSION OF
M.L.W.,                                        TIME TO RESPOND TO
                                               PLAINTIFFS’ FIRST
     Plaintiffs,                               AMENDED COMPLAINT
v

MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
NICK LYON, sued in his official and
individual capacities; DR. SANDIP
SHAH, sued in his official and individual
capacities; DR. SARAH LYON-CALLO,
sued in her official and individual
capacities; HARRY HAWKINS, sued in
his official and individual capacities;
MARY KLEYN, sued in her official and
individual capacities; MICHIGAN
NEONATAL BIOBANK, INC also
known as MICHIGAN NEONATAL
BIOREPOSITORY; DR. ANTONIO
YANCEY, sued in his official and
individual capacities,

     Defendants.
                                                                            /
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                                                                            /




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    STIPULATED ORDER FOR EXTENSION OF TIME TO
  RESPOND TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

                             STIPULATION

     The parties to this matter, by and through their respective

counsel, hereby STIPULATE AND AGREE that all previously-served

Defendants for which counsel have appeared shall have an additional

fifteen (15) days, or until May 29, 2018, to file their response to

Plaintiffs’ First Amended Complaint dated April 30, 2018 (ECF No. 26).



Dated:      5/10/18          /s/ Philip L. Ellison (w/ permission)
                             Philip L. Ellison (P74117)
                             Attorney for Plaintiffs

Dated:      5/10/18          /s/ Christopher L. Kerr
                             Christopher L. Kerr (P57131)
                             Thomas S. Marks (P69868)
                             Aaron W. Levin (P81310)
                             Attorneys for State Defendants

Dated:      5/10/18          /s/ Thomas F. Cavalier (w/ permission)
                             Thomas F. Cavalier (P34683)
                             Attorney for Dr. Antonio Yancey (in his
                              individual capacity)

Dated:      5/10/18          /s/ Jeremy C. Kennedy (w/ permission)
                             Jerold Lax (P16470)
                             Jeremy C. Kennedy (P64821)
                             Attorneys for BioBank and Dr. Antonio
                             Yancey (as BioBank Director)


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                                            ORDER

     Based on the foregoing Stipulation, it is ORDERED that all

previously-served Defendants for which counsel have appeared shall

have an additional fifteen (15) days, or until May 29, 2018, to file their

response to Plaintiffs’ First Amended Complaint dated April 30, 2018

(ECF No. 26).



                                                                      s/Thomas L. Ludington
                                                                      THOMAS L. LUDINGTON
                                                                      United States District Judge
Dated: May 11, 2018




                                               PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on May 11, 2018.

                                                        s/Kelly Winslow
                                                        KELLY WINSLOW, Case Manager




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